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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW JERSEY

                                                         )   Chapter 11
     In re:                                              )
                                                         )   Case No. 18-27963 (MBK)
     DURO DYNE NATIONAL CORP., et                        )
     al.,1                                               )   Jointly Administered
                 Debtors.                                )
                                                         )   Hearing Date: October 15, 2018,
                                                         )                 at 2:00 p.m.

 SUPPLEMENTAL OBJECTION OF THE UNITED STATES TRUSTEE TO
  MOTION FOR AN ORDER APPOINTING LAWRENCE FITZPATRICK
    AS REPRESENTATIVE FOR FUTURE ASBESTOS CLAIMANTS

              Andrew R. Vara, the Acting United States Trustee for Region 3 (“United

 States Trustee”), by and through his undersigned counsel, hereby files this

 supplemental objection (“Supplemental Objection”) to the Debtors’ motion for an

 order appointing Lawrence Fitzpatrick as the legal representative of future asbestos



 1
  The Debtors in these chapter 11 cases are: Duro Dyne National Corp., No. 18-27963-MBK; Duro Dyne
 Corporation, No. 18-27968-MB;, Duro Dyne Machinery Corp., No. 18-27969-MBK; Duro Dyne MidWest Corp.,
 No. 18-27970-MBK; and Duro Dyne West Corp., No. 18-27971-MBK (collectively, the “Debtors”).
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 claimants (the “FCR”) in the above-captioned cases under 11 U.S.C.

 § 524(g)(4)(B)(i) (the “Motion”), in further support of the United States Trustee’s

 pending objection to the Motion filed on September 27, 2018 (Dkt. 103) (the

 “Objection”).2

                                        PROCEDURAL HISTORY

            1.       The United States Trustee submits this Supplemental Objection at the

 direction of the Court as stated on the record of the October 1, 2018, hearing on the

 Motion. At the conclusion of that hearing, the Court deferred its ruling on the

 Motion and authorized the parties to conduct certain limited discovery on issues

 relating to Mr. Fitzpatrick’s pre-petition employment by the Debtors. See

 Transcript Regarding Hearing held October 1, 2018, at 78:10–80:9 (Dkt. 132). In

 accordance with the Court’s instructions, the United States Trustee served

 document discovery on the Debtors, Mr. Fitzpatrick, and members of the pre-

 petition Ad Hoc Committee of present asbestos claimants on October 3, 2018. On

 October 10, 2018, the United States Trustee participated in depositions of Mr.

 Fitzpatrick and of Randall S. Hinden, the Debtors’ Chief Executive Officer.

 Transcripts of the depositions of Mr. Fitzpatrick and Mr. Hinden are attached to




 2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.


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 this Supplemental Objection as Exhibits A (“Fitzpatrick Tr.”) and B (“Hinden

 Tr.”).

          2.   In their responses to the United States Trustee’s document requests

 and in the Fitzpatrick deposition, the Debtors, Mr. Fitzpatrick and the Ad Hoc

 Committee refused to produce certain documents, heavily redacted those

 documents that were produced, and refused to give testimony on a broad range of

 topics relating to Mr. Fitzpatrick’s pre-petition activities on the basis of an alleged

 “joint defense privilege,” “negotiation privilege,” or the “common interest

 doctrine.” See Debtors’ Responses and Objections to the United States Trustee’s

 First Request for Production of Documents at 4 (attached as Exhibit C); The Legal

 Representative’s Responses and Objections to the United States Trustee’s First

 Requests for Production of Documents at 4 (attached as Exhibit D); Letter from

 James B. Wehner to Mitchell B. Hausman and Mark D. Plevin, dated October 8,

 2018 at 2 (attached as Exhibit E); Fitzpatrick Tr. at 79:8-22. Due to this expansive

 claim of privilege, critical facts about Mr. Fitzpatrick’s pre-petition activities—the

 principal topic on which the Court directed the parties to conduct discovery—

 remain unknown. Furthermore, because none of these parties attached a privilege

 log to their discovery responses, it has not been possible for the United States




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 Trustee to ascertain which documents have been withheld or the precise scope of

 the privilege that is being asserted.3

         3.       The United States Trustee submits this Supplemental Objection to

 advise the Court of certain additional facts that have been ascertained through

 discovery that are relevant to arguments raised in the United States Trustee’s

 earlier Objection. Because the discovery authorized by the Court was limited, not

 every argument raised in the Objection relates to matters on which discovery was

 taken. The United States Trustee does not reiterate those arguments here but relies

 on his earlier Objection.

         4.       The Debtors and the FCR have the burden to establish that the

 proposed FCR has been and can be a disinterested, independent, and rigorous

 advocate for future asbestos victims. Given that Mr. Fitzpatrick was paid for his

 work on the pre-negotiated Plan over a period of sixteen months before these cases

 filed, everything he said and did during these Plan negotiations are relevant to his

 qualifications as the proposed FCR. Yet, during limited discovery on these precise

 issues, the FCR and the Debtors invoked various privileges to withhold

 information about what he did and said while advocating for future asbestos



 3
  During the course of the October 10, 2018, depositions, the Court ordered the parties to serve a privilege log by
 Friday, October 12, 2018. Because that is the same date as the deadline for this Supplemental Objection, this
 Supplemental Objection does not reflect any additional information that may have been contained in the parties’
 privilege logs. As discussed below, it is not necessary for the Court to decide whether these documents have been
 properly withheld because they relate to issues on which the Debtors bear the burden of proof and because there are
 already ample grounds to deny the Motion even without disclosure of the allegedly privileged documents.
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 claimants. The Debtors simply want the Court to evaluate his fitness for a job

 without disclosing how he has actually performed that job to date. The Debtors

 and the FCR were required to either provide the necessary evidence to evaluate his

 job performance over the last sixteen months, or else live with their choice of

 having made questionable claims of privilege and force the Court to deny Mr.

 Fitzpatrick the appointment for failure to meet their burden of proof.

       5.     What is perhaps more telling is the nature of the privileges asserted—

 common interest and joint defense. Although the Debtors, the FCR, and the pre-

 petition Ad Hoc Committee may have had common interests with regard to the

 debtors’ insurers, they surely do not have common interests with regard to each

 other. The Debtors want to conclude the case as inexpensively as possible, while

 the Ad Hoc Committee and the FCR want the largest possible “pie.” But the

 present claimants represented by the Ad Hoc Committee and the future claimants

 represented by the FCR each seek to maximize their recovery at the other’s

 expense. The assertion of the common interest privilege with one’s adversaries is

 particularly telling and essentially res ipsa loquitur regarding the FCR’s

 disinterestedness. If he sees his constituents’ interests as perfectly and fully

 aligned with the current claimants or the Debtors, that itself is an admission that

 Mr. Fitzpatrick is not and cannot be a disinterested, independent fiduciary for

 future claimants.

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       6.     Nevertheless, despite the invocations of privilege and failure to meet

 their burden, the facts disclosed support the conclusion that Mr. Fitzpatrick is not

 disinterested. But even if the Court found otherwise, his appointment still should

 be denied given the Court’s discretion to appoint the FCR. Among other facts, Mr.

 Fitzpatrick’s duties were constrained by his terms of employment, and he was

 presented with a plan negotiated over a two-year period before he was retained.

 He did not question or resist plan provisions with negative consequences for future

 asbestos claimants, nor does he have the ability to do so now, given his

 commitment to support this plan. The Debtors did not consider him an adversary,

 and Mr. Fitzpatrick has accepted a personal financial benefit under the plan by

 agreeing to serve as the FCR for the post-confirmation trust. For all these reasons

 and those originally briefed, the application must be denied.


                    STATEMENT OF ADDITIONAL FACTS


       7.     The following additional material facts have either been admitted by

 the Debtors or Mr. Fitzpatrick or can be inferred by the Court based on the

 deposition testimony and discovery conducted in this case:




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            a. When selecting Mr. Fitzpatrick, the Debtors did not conduct a
               comprehensive search, did not consider the interests of future
               claimants, and did not take adequate steps to ensure that he
               would be free from conflicts.
       8.      In his deposition, Mr. Hinden stated that he left the selection of

 candidates to serve as FCR “up to counsel.” See Hinden Tr. at 21:4-7. Although

 Mr. Hinden stated a “few” other candidates were considered other than Mr.

 Fitzpatrick, he could not remember their full names or any other information about

 them. Id. at 21:12-24. The Debtors did not conduct a public search or solicit

 applications for the FCR position, and Mr. Fitzpatrick was the only candidate

 interviewed. Id. at 23:19–24:9. When questioned about the criteria he used in

 selecting an FCR, Mr. Hinden named just two factors: “to have somebody with

 experience doing what we wanted him to be doing for us or for the trust,” and

 “[l]ocality for the case, being in New Jersey.” Id. at 21:25–22:9. Mr. Hinden

 could not identify any other factors that were considered, and in particular he

 testified that he did not consider or review the results of Mr. Fitzpatrick’s work on

 behalf of future claimants in his prior cases. Id. at 54:20-24.

       9.      There is no evidence that the Debtors ever performed a rigorous

 review of Mr. Fitzpatrick’s conflicts—a subject that was not mentioned by Mr.

 Hinden as part of the selection process. Although Mr. Fitzpatrick testified that he

 performed a personal conflicts check based on a list provided to him by his

 counsel, the only entities for whom he could recall performing a check were “[a]ll
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 the U.S. trustee employees; all the judges, bankruptcy judges in New Jersey.”

 Fitzpatrick Tr. at 24:11-24. Based on testimony of Mr. Fitzpatrick and Mr.

 Hinden, it is unclear if any broader conflicts search was ever requested or

 performed.


             b. Mr. Fitzpatrick was hired at a late stage of the Plan negotiations,
                after the principal terms of the Plan were already in place.
       10.      Mr. Hinden testified that he first began negotiating a chapter 11 plan

 with the Ad Hoc Committee in 2015. See Hinden Tr. at 18:10-19. As of 2015, Mr.

 Hinden was also represented by experienced bankruptcy counsel with experience

 in section 524(g) cases. Id. at 19:14-22. Despite this, the Debtors did not begin

 their search for a pre-petition FCR until 2017—after negotiations with present

 claimants had already been underway for approximately two years. Id. at 20:12-

 19. For his part, Mr. Fitzpatrick testified that he was first approached concerning

 the Debtors’ potential cases on May 23, 2017. See Fitzpatrick Tr. at 19:23–20:4.

 By that point, according to Mr. Fitzpatrick, the decision to file the chapter 11 cases

 had already been made. Id. at 28:8-9. In addition, the Debtors and the Ad Hoc

 Committee had already prepared a term sheet for the Plan, a copy of which was

 provided to Mr. Fitzpatrick on June 1, 2017. Id. at 72:11-13.




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             c. The Debtors did not regard Mr. Fitzpatrick as an adversary.
       11.     When asked if he viewed Mr. Fitzpatrick as an adversary during the

 pre-petition period, Mr. Hinden testified, “[N]ot as an adversary.” Hinden Tr. at

 30:10-12. This remark is consistent with the characterization of Mr. Fitzpatrick’s

 role asserted in the discovery responses of Mr. Fitzpatrick, the Debtors, and the Ad

 Hoc Committee. Although the exact scope of the privilege claimed is not clear, it

 is notable that all three parties have asserted the existence of a “common interest”

 during the entire period of Mr. Fitzpatrick’s pre-petition engagement—

 notwithstanding the fact that, according to Mr. Fitzpatrick’s own testimony, he did

 not definitively agree to support the plan until the very eve of the bankruptcy. See

 Fitzpatrick Tr. at 39:1-14.


             d. Mr. Fitzpatrick’s duties were severely constrained, and he was
                subject to the control of the Debtors during the pre-petition
                period.
       12.     During his pre-petition engagement, Mr. Fitzpatrick was constrained

 in his ability to advocate for future claimants because the basic outcome of the

 case—a chapter 11 plan including a section 524(g) injunction—had already been

 predetermined by the time he became involved. Among other things, this

 prevented Mr. Fitzpatrick from advocating or even considering whether the

 interests of future claimants would have been better served by an alternative

 structure to chapter 11. See Fitzpatrick Tr. at 28:7-9 (“I did not consider any

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 alternatives to a Chapter 11. The decision to file for a Chapter 11 I believe had

 been made before I was retained.”). As noted, he was hired after a term sheet had

 already been prepared that would define the basic structure of the Plan; there is no

 evidence that he would have or even could have challenged this agreement if

 necessary to improve the outcomes for future claimants.

       13.    The evidence also supports an inference that Mr. Fitzpatrick was

 constrained because of the implicit threat that he could be terminated if his efforts

 did not proceed in a manner favorable to the Debtors or the Ad Hoc Committee.

 Although Mr. Fitzpatrick believed that he could only be terminated for

 “malfeasance,” he admitted that he had never discussed this question with the

 Debtors. Id. at 36:18–37:5. Mr. Fitzpatrick’s testimony was also contradicted by

 Mr. Hinden, who testified that Mr. Fitzpatrick could be terminated on the same

 basis as the Debtors’ other professionals:

       Q:     And from the company’s point of view, did it have the ability to end
              Mr. Fitzpatrick’s engagement?

       A:     I don’t see why not. I could end Mr. Prol’s as well.

 Hinden Tr. at 33:16-20.

       14.    Mr. Hinden later elaborated by identifying several specific scenarios,

 not related to malfeasance by Mr. Fitzpatrick, that would lead to Mr. Fitzpatrick’s

 termination. These included a decision not to proceed with a chapter 11 strategy,

 an impasse in plan negotiations, or a lack of progress towards a consensual plan.
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 Id. at 56:4-12. Notably, any of these outcomes apparently would have led to Mr.

 Fitzpatrick’s termination without regard to whether they may have been in the best

 interests of future claimants.


             e. There is no evidence that Mr. Fitzpatrick substantially
                participated in the formulation of the Plan.


       15.      Although the Disclosure Statement recites that Mr. Fitzpatrick “spent

 considerable time negotiating over the terms of a possible Plan,” see Dkt. 20 at 19,

 the decision by Mr. Fitzpatrick and the Debtors to assert a blanket privilege over

 the entire plan formulation process means that there is nothing in the record to

 substantiate such a statement. But the time records produced by Mr. Fitzpatrick

 speak for themselves, and they reflect at best a minimal involvement by Mr.

 Fitzpatrick in the actual negotiation and drafting of the Plan.

       16.      Specifically, the first reference to a term sheet in Mr. Fitzpatrick’s

 billing records occurs in June 2017, shortly after his retention, when he spent 0.6

 hours reviewing a term sheet and a further 0.1 hours communicating with his

 counsel about the term sheet. See Fitzpatrick Time Records (attached hereto as

 Exhibit F) at 000002-000003. This is presumably the same term sheet referenced

 in Mr. Fitzpatrick’s deposition testimony, which was prepared by the Debtors and

 the Ad Hoc Committee prior to his retention.



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       17.      The first reference to a plan in Mr. Fitzpatrick’s billing records does

 not occur until May 17, 2018, when he billed 1.1 hours for “Review revised

 Prenegotiated Plan of Reorganization.” Id. at 000007. There are no references to a

 plan in any of Mr. Fitzpatrick’s billing records for the intervening 11 months,

 suggesting that this plan was also formulated without his participation. And

 although there are scattered references to reviewing various plan documents in the

 months leading to the bankruptcy (generally totaling no more than a few hours per

 month), there are no time additional records that refer explicitly to Mr. Fitzpatrick

 drafting, revising, or otherwise advancing the Plan. Id.


             f. As pre-petition FCR, Mr. Fitzpatrick did not challenge
                questionable Plan provisions on behalf of future claimants.
       18.      As discussed in the United States Trustee’s pending objection to the

 Disclosure Statement, the current Plan in this case is not confirmable because,

 among other reasons, it contains numerous provisions that appear to facilitate fraud

 and other forms of abuse. See Objection of the United States Trustee to the

 Disclosure Statement for the Prenegotiated Plan of Reorganization for Duro Dyne

 National Corp., et al. at 8-16 (Dkt. 140).

       19.      Although Mr. Fitzpatrick conceded that it is in the best interests of

 future claimants to prevent fraudulent and abusive claims that may deplete the

 Trust, see Fitzpatrick Tr. at 96:9-13, Mr. Fitzpatrick did not object to numerous


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 questionable provisions of the proposed Plan and Trust Distribution Procedures

 (TDPs). In particular, Mr. Fitzpatrick did not object to, or affirmatively supported,

 TDPs provisions that: (i) recite that all evidence is for the sole benefit of the Trust;

 (ii) treat trust claims as confidential settlement discussions; (iii) exempt certain

 claimants from submitting medical evidence; (iv) treat entire occupational

 categories as presumptively exposed; (v) allow claimants to recover who have

 previously denied liability; and (vi) allow claimants to withdraw and refile claims

 without giving rise to a statute of limitations defense. See Id. at 50:2–53:18.


             g. Mr. Fitzpatrick will not seek to negotiate further the plan post-
                petition.
       20.      Although he could not specifically recall signing any term sheets, Mr.

 Fitzpatrick testified that he had made an agreement to support the confirmation of

 the Plan. Id. at 40:1-6 and 41:1-5. Apparently on account of that agreement, Mr.

 Fitzpatrick further testified that his duties going forward would be limited to a few

 discrete matters that have not yet been finalized as well as to any “last-minute

 changes.” Id.at 41:6-20. Mr. Fitzpatrick does not anticipate performing any

 additional due diligence or seeking to renegotiate the Plan, and he could not think

 of any facts that would cause him to reconsider his support for the Plan. Id. at

 42:18–43:8.




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             h. Mr. Fitzpatrick will accept a personal financial benefit under the
                Plan.
       21.      In his testimony, Mr. Fitzpatrick confirmed that he will be named as

 Future Claims Representative for the Trust on a post-confirmation basis in the

 event the Plan is confirmed. Id. at 61:7-10.


             i. Mr. Fitzpatrick’s appointment is not a condition to the Debtors’
                support of the Plan.
       22.      Mr. Hinden testified that the Debtors’ support of the Plan is not

 conditioned on whether Mr. Fitzpatrick or another person is appointed to serve as

 FCR and that replacement of Mr. Fitzpatrick would not cause the Debtors to

 withdraw their request for approval of the Plan. See Hinden Tr. at 57:24–58:1-8.


                                      ARGUMENT
       23.      As the Court observed at the October 1, 2018, hearing, what is at issue

 here is not Mr. Fitzpatrick’s experience or qualifications (see October 1, 2018, Tr.

 at 75:13-14), but rather “the concerns that have been raised” by the United States

 Trustee (id. at 75:21-22) and “what’s being proposed” in the Plan and “how it got

 to the point with respect to the pre-petition activities” (id. at 78:11-12). With

 respect to Mr. Fitzpatrick’s appointment, the Court must now conduct a two-part

 analysis. First, the Court must determine whether the Debtors have demonstrated

 that Mr. Fitzpatrick is disinterested. Id. at 79:15–80:2. If the Court determines



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 that Mr. Fitzpatrick is not disinterested—as the United States Trustee believes it

 should—his appointment should be denied.

       24.    But it does not follow that the Court should automatically approve Mr.

 Fitzpatrick’s appointment in the event he is found to be disinterested. Section

 524(g) commits the power to appoint an FCR to the Court alone. Mr. Fitzpatrick

 does not have a right to be appointed, and the Debtors do not have a right to have

 an FCR of their choice appointed. Even if the Court concludes that Mr. Fitzpatrick

 is disinterested, it should conduct an independent analysis of whether, based on the

 facts of this case, he would provide more effective service to future claimants than

 would a different FCR nominee.

       25.    Mr. Fitzpatrick’s appointment should be denied under either prong of

 this analysis. The Debtors have not demonstrated that Mr. Fitzpatrick is

 disinterested under the well-established standards applicable to section 1104

 trustees. Even if he were disinterested, however, his appointment should

 alternatively be denied because he cannot effectively represent future claimants

 due to his prior role in the pre-petition negotiations, and he cannot provide the

 fresh, unbiased analysis of the Plan—or of future iterations of the Plan—which this

 case requires.




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 I.    Mr. Fitzpatrick is Not Disinterested

             a. The Debtors Bear the Burden of Demonstrating that Mr.
                Fitzpatrick is Disinterested
       26.      As the party moving for Mr. Fitzpatrick’s retention, the Debtors bear

 the burden of demonstrating that he is disinterested. See In re Interwest Bus.

 Equip., Inc., 23 F.3d 311, 318 (10th Cir. 1994) (“An applicant … has the burden of

 establishing by application and accompanying affidavit that its chosen professional

 is qualified”); In re Triple Star Welding, Inc., 324 B.R. 778, 793 (B.A.P. 9th Cir.

 2005), abrogated on other grounds by In re AFI Holding, Inc., 530 F.3d 832 (9th

 Cir. 2008) (holding that “The initial burden is on [the professional] to establish that

 he was eligible for employment and should receive compensation notwithstanding

 his possible conflicts of interest”); In re Champagne Servs., LLC, 560 B.R. 196,

 201 (Bankr. E.D. Va. 2016) (“The burden is on the proponent of the application to

 show that proposed counsel satisfies all requirements, including that he is

 disinterested. It is not the United States trustee's burden to show that he is not

 disinterested.”).


             b. The Debtors’ claim of privilege does not relieve them from their
                evidentiary burden.
       27.      As the Court recognized in its comments at the October 1, 2018,

 hearing, the conduct of the pre-petition negotiations in which Mr. Fitzpatrick

 allegedly participated is the single most critical factual issue that the Court must

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 explore before deciding the request to appoint Mr. Fitzpatrick. See Oct. 1, 2018

 Tr. at 80:22–81:1 (“[T]here was pre-petition negotiations here, there’s the plan

 process which this Court has to review[.]”). But it is precisely on those issues that

 the Debtors, Mr. Fitzpatrick, and the Ad Hoc Committee have asserted privilege,

 and it is precisely those documents that relate directly to the pre-petition plan

 process that they have refused to produce.

       28.    It is not necessary for the Court to rule on the Debtors’ (and Mr.

 Fitzpatrick’s) assertions of privilege in the context of this Motion because the

 burden of proof is theirs. It is the responsibility of the Debtors and Mr. Fitzpatrick

 to provide this Court with a sufficient factual record to support the Motion, and if

 the common interest privilege is an obstacle to making that disclosure, it is within

 their power to waive it. But they cannot use that alleged privilege as an excuse for

 not meeting their evidentiary burden. As one court has noted in similar

 circumstances, “allowing a plaintiff to hide ... behind a claim of privilege” on an

 issue that the plaintiff has placed directly at issue “would simply be contrary to the

 most basic sense of fairness and justice.” Jackson v. Chubb Corp., 193 F.R.D.

 216, 221 (D.N.J. 2000) (internal quotations omitted). The Debtors may or may not

 be within their rights to withhold documents that would explain the course of their

 negotiations, but they cannot withhold those documents while simultaneously




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 requesting that the Court make a factual finding based on the very facts and

 documents they have refused to disclose.


             c. Alternatively, the deposition testimony and documents produced
                establish that Mr. Fitzpatrick is not disinterested.
       29.     In any event, the evidence not withheld by the Debtors and Mr.

 Fitzpatrick is more than sufficient for the Court to conclude that Mr. Fitzpatrick is

 not disinterested. In its October 1, 2018, bench ruling, the Court held that an FCR

 would be held to the same standard of disinterestedness as a section 1104

 fiduciary. See Oct. 1, 2018 Tr. at 79:18–80:2. As applied to trustees and

 examiners, the requirement of disinterestedness has been held to prohibit, among

 other things: an examiner’s entry into an agreement that would provide a financial

 reward based on the particular outcome of a case, see In re Big Rivers Elec. Corp.,

 355 F.3d 415, 434 (6th Cir. 2004); a trustee’s outside employment with a firm that

 held an adverse interest to the estate, see In re Bennett Funding Grp., Inc., 226

 B.R. 331, 336 (Bankr. N.D.N.Y. 1998); or any other “personal interest(s) which

 might be reflected in their decisions concerning matters of the debtor's estate or

 which might impair the high degree of impartiality and detached judgment

 expected of them during the course of administration.” In re Vebeliunas, 231 B.R.

 181, 191 (Bankr. S.D.N.Y. 1999) (internal citations omitted).




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       30.      Although many of the facts concerning Mr. Fitzpatrick’s employment

 have not been disclosed, the existing record is sufficient to demonstrate that Mr.

 Fitzpatrick is not disinterested within the meaning of the Bankruptcy Code. It is

 undisputed that Mr. Fitzpatrick will benefit personally from the confirmation of the

 proposed Plan, through its requirement that he be named post-confirmation FCR.

 The testimony of Mr. Hinden, as well as the practical control that the Debtors

 exercised over Mr. Fitzpatrick, support the conclusion that Mr. Fitzpatrick’s role

 was far more in the nature of an employee than of an independent adversary.

 Finally, as Mr. Fitzpatrick himself testified, he cannot act as an impartial FCR with

 respect to the Plan because he considers himself obligated to support it due to his

 pre-petition agreement with the Debtors.

 II.   In the alternative, the Court should exercise its discretion to appoint an
       FCR other than Mr. Fitzpatrick

             a. The interests of future claimants would be better served by a truly
                independent FCR.
       31.      Even were the Court to conclude that Mr. Fitzpatrick is disinterested,

 it should exercise its discretion to appoint a different candidate. In enacting

 section 524(g), Congress expected that future claimants would receive vigorous,

 independent representation, and it is clear that Mr. Fitzpatrick is not presently

 capable of fulfilling that function. Mr. Fitzpatrick has stated that he has no

 intention of reconsidering or renegotiating the current Plan and that he considers


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 himself bound by the results of the pre-petition negotiations. In addition, it appears

 that during those negotiations, Mr. Fitzpatrick was either unwilling or unable to

 advocate effectively on behalf of future claimants with respect to the abusive Plan

 provisions identified by the United States Trustee, the risks of which will be

 primarily borne by future claimants.


             b. Mr. Fitzpatrick’s pre-petition activities are not a substitute for the
                protections of a fully independent FCR.
       32.      Even if the Court concludes that Mr. Fitzpatrick acted diligently and

 with good intentions, his pre-petition services are not a substitute for the

 protections provided by an independent FCR because Mr. Fitzpatrick’s services

 were provided under conditions and constraints that would not exist for a truly

 independent, post-petition FCR. As an initial matter, there is no evidence that Mr.

 Fitzpatrick was subject to the same rigorous, transparent selection process that

 would normally be expected of a chapter 11 fiduciary. Instead, he was selected

 through an abbreviated process that was not based on the needs or interests of

 future claimants and that may not necessarily have involved a full review of Mr.

 Fitzpatrick’s possible conflicts and connections. Furthermore, the scope of Mr.

 Fitzpatrick’s work was limited in comparison to what a post-petition FCR would

 presumably be expected to perform. Rather than being allowed to consider all

 options, including the possibility that future claimants would be better served by a


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 plan that did not include a section 524(g) channeling injunction, Mr. Fitzpatrick’s

 role was limited to considering only a narrow range of restructuring options based

 on an eventual section 524(g) plan. Rather than being permitted to negotiate a plan

 in its entirety, Mr. Fitzpatrick was presented from the beginning with a term sheet

 already negotiated by other parties. And rather than being free to take a strongly

 adversarial position against the Debtors, Mr. Fitzpatrick was subject to an implicit

 threat of termination in the event that his work did not progress in a manner

 satisfactory to the Debtors.

       33.    By appointing a different FCR, the Court would ensure that future

 claimants will receive strong representation not subject to any of the same

 limitations to which Mr. Fitzpatrick is subject. Unlike Mr. Fitzpatrick, a new FCR

 would be free to renegotiate or refuse to support the plan, even at the risk of

 antagonizing the Debtors. That FCR would also have the ability to consider and

 advocate for restructuring outcomes other than those preferred by the Debtors and

 the Committee. And in the event that a new plan is proposed, that FCR would

 have the ability to participate fully in plan negotiations as an equal partner of the

 Debtors and the Committee—something that does not appear to have happened

 during Mr. Fitzpatrick’s pre-petition engagement.




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             c. Appointment of an independent FCR would not unduly disrupt or
                delay this case.
       34.     Finally, the appointment of an alternative FCR in lieu of Mr.

 Fitzpatrick would not unduly delay progress of this case. As discussed in the

 United States Trustee’s objection to the Debtors’ Disclosure Statement, the United

 States Trustee does not believe that the Plan is confirmable in its present form, and

 resolution of these cases is therefore not imminent. Considerable revisions and

 discussions will be necessary before any plan can be confirmed, and that time

 interval would provide a replacement FCR with an ample opportunity both to

 familiarize himself with these cases and to participate in any subsequent Plan

 negotiations. Furthermore, as Mr. Hinden testified, the Debtors do not regard Mr.

 Fitzpatrick’s participation as an indispensable requirement of any plan. Indeed,

 given the questions that have been raised about Mr. Fitzpatrick’s independence, a

 new FCR may eliminate some of the potential challenges that may be brought to

 the eventual plan—ultimately providing both a more certain and a less costly

 resolution to these cases for all parties.




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       WHEREFORE the United States Trustee respectfully requests that the Court

 deny the Motion for the appointment of Mr. Fitzpatrick.

                                      Respectfully submitted,

                                      ANDREW R. VARA
                                      ACTING UNITED STATES TRUSTEE
                                      REGION 3

                                      By:    /s/ Jeffrey M. Sponder
                                             Jeffrey M. Sponder
                                             Trial Attorney
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                                             Trial Attorney


 DATED: October 12, 2018




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